Case 1:17-cv-00151-DLH-CSM Document 86-4 Filed 04/27/18 Page 1 of 5




                       Exhibit D
                Case 1:17-cv-00151-DLH-CSM Document 86-4 Filed 04/27/18 Page 2 of 5




                                  IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF NORTH DAKOTA

          ASSOCIATION OF EQUIPMENT                              )
          MANUFACTURERS, AGCO CORPORATION,                      )
          CNH INDUSTRIAL AMERICA LLC, DEERE &                   )
          COMPANY, and KUBOTA TRACTOR                           )
          CORPORATION,                                          )
                    Plaintiffs,                                 )
          v.                                                    )         Case No. 1:17-cv-00151-CSM
                                                                )
          THE HON. DOUG BURGUM, Governor of the                 )
          State of North Dakota, in his Official Capacity,      )
          and                                                   )
                                                                )
          THE HON. WAYNE STENEHJEM, Attorney                    )
          General of the State of North Dakota, in his          )
          Official Capacity,                                    )
                                                                )
                    Defendants,                                 )
          and                                                   )
                                                                )
          NORTH DAKOTA IMPLEMENT DEALERS                        )
          ASSOCIATION,                                          )
                                                                )
                    Defendant-Intervenor.                       )
                        THE STATE OF NORTH DAKOTA AND THE INTERVENOR
                        NORTH DAKOTA IMPLEMENT DEALERS ASSOCIATION’S
                      AMENDED RESPONSES TO FIRST REQUESTS FOR ADMISSIONS,
                          DOCUMENT REQUESTS, AND INTERROGATORIES

                   The State of North Dakota (State) and Defendant-Intervenor North Dakota Implement

        Dealers Association (“NDIDA”) (collectively, “Defendants”), by counsel, pursuant to Federal

        Rules of Civil Procedure 26, 33, 34, and 36, hereby amend their responses to the first set of

        discovery responses from Plaintiffs, the Association of Equipment Manufacturers (“AEM”),

        together with AEM members AGCO Corporation (“AGCO”), CNH Industrial America LLC

        (“CNH”), Deere & Company (“John Deere”), and Kubota Tractor Corporation (“Kubota”)

        (collectively, the “Manufacturers”), as a result of Defendants’ continuing investigation, as follows:


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4841-9310-4730.4
     Case 1:17-cv-00151-DLH-CSM Document 86-4 Filed 04/27/18 Page 3 of 5




                               REQUESTS FOR PRODUCTION

       Document Request No. 1:         All documents or tangible things that You anticipate using

at trial in this litigation, whether as exhibits or for purposes of rebuttal or impeachment.

       Amended Response: See Defendants’ response to Request #2 below. Further, Defendants

will produce all non-privileged, responsive documents within its possession, custody or control.



       Document Request No. 4:         All documents relating to the drafting, preparation,

enactment, or passage of Senate Bill 2289.

       Amended Response: Objection. The State has no documents responsive to this request

other than which is already publicly-available.       NDIDA objects to this Request because it

implicates documents that are covered under attorney-client privilege. Further, NDIDA objects to

this Request because it also implicates documents protected from disclosure as attorney work-

product. NDIDA also objects because this request implicates documents protected from disclosure

under it and its members’ First Amendment Privilege to engage in political activities as free speech

and to not have such activities or speech chilled or otherwise used against them. Finally, the State

and NDIDA interprets the above request to only reference those documents relating to the above

that post-date the introduction of SB 2289. Further, the North Dakota Legislature, not NDIDA,

drafts and prepares legislation, including SB 2289. Without waiving those objections above,

NDIDA states that at the time of its initial response, investigation for potentially-responsive

documents was ongoing and none had been found. As the investigation has continued, responsive

documents have been discovered and those non-privileged, responsive documents will be

provided. Otherwise, NDIDA will produce an appropriate privilege log.




                                                  7
     Case 1:17-cv-00151-DLH-CSM Document 86-4 Filed 04/27/18 Page 4 of 5




satisfactory it denied the requests. Additionally, Defendants state that having to answer this

interrogatory would be unduly burdensome considering the number and length of existing dealer

agreements that it implicates. Finally, explaining our bases for our objections would require

opining as to the ultimate legal questions, which is improper. Defendants state that the cited

existing dealer agreements speak for themselves.


 Dated: March 23, 2018
                                                    Respectfully submitted,
                                                    NORTH    DAKOTA     IMPLEMENT
                                                    DEALERS ASSOCIATION

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                                               9
     Case 1:17-cv-00151-DLH-CSM Document 86-4 Filed 04/27/18 Page 5 of 5




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 23rd day of March, 2018, a true and correct copy of the
foregoing has been furnished electronically by email directly to the following counsel of record:
    • Benjamin E. Thomas             bthomas@woldlaw.com, jastrup@woldlaw.com
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                                                    /s/ Jason T. Allen
                                                    Jason T. Allen




                                               10
